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 8                                 UNITED STATES DISTRICT COURT

 9                              SOUTHERN DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,           )                  Case No. 05cr1634-L
                                          )
11                         Plaintiff,     )
                                          )                  ORDER OF CRIMINAL
12           v.                           )                  FORFEITURE
                                          )
13    SYD GROUP (1),                      )
       aka www.veterinaria.com.mx,        )
14    aka www.austaliananabolic.com       )
      aka www.sydgroup.com,               )
15                                        )
                           Defendant.     )
16    ____________________________________)

17           WHEREAS, in the Indictment in the above-captioned case, the United States sought

18    forfeiture of all right, title and interest in specific properties of the above-named Defendant, SYD

19    GROUP (1) ("Defendant"), pursuant to Title 21, United States Code, Section 853(a)(1) and (a)(2),

20    as property obtained directly or indirectly as the result of the commission of the violations charged

21    in the Indictment; and

22           WHEREAS, on or about June 4, 2007, Defendant pled guilty to Count 2 of the Indictment,

23    which plea included a consent to the forfeiture allegations of the Indictment and an agreement to

24    entry of a $58,533 judgment against the Defendant in favor of the United States; and

25           WHEREAS, by virtue of the admissions of the Defendant set out in the plea agreement and

26    guilty plea, the Court determined that $58,533 (U.S. dollars), in whole or in part, represents the

27    drug proceeds obtained directly or indirectly as a result of the violation of Title 21, United States

28    Code, Sections 846 and 841(a)(1), as charged in the Indictment; and
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 1           WHEREAS, by virtue of said guilty plea and the Court’s findings, the United States is now

 2    entitled to an Order of Forfeiture and a judgment in its favor against the Defendant in the amount

 3    of $58,533, pursuant to 21 U.S.C. § 853 and Rule 32.2(b) of the Federal Rules of Criminal

 4    Procedure; and

 5           WHEREAS, Rule 32.2(c)(1) provides that "no ancillary proceeding is required to the extent

 6    that the forfeiture consists of a money judgment;" and

 7           WHEREAS, by virtue of the facts set forth in the plea agreement, the United States has

 8    established the requisite nexus between the $58,533 judgment and the offense; and

 9           WHEREAS, the United States, having submitted the Order herein to the Defendant through

10    its attorney of record, to review, and no objections having been received;

11           Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

12           1.      Defendant SYD GROUP (1) shall forfeit to the United States the sum of $58,533

13    pursuant to Title 21, United States Code, Sections 853(a)(1) and (a)(2); and

14           2.      The Clerk of the Court is directed to enter a judgment in favor of the United States

15    against Defendant PETS PHARMA, S.A. De C.V. in the amount of $58,533 with interest to accrue

16    thereon in accordance with law; and

17           3.      This Court shall retain jurisdiction in the case for the purpose of enforcing the order

18    of forfeiture and collecting and enforcing the judgment; and

19           4.      Pursuant to Rule 32.2(b)(3), this Order of Forfeiture shall be made final as to the

20    Defendant at the time of sentencing and is part of the sentence and included in the judgment; and

21           5.      The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

22    Order of Forfeiture to substitute property having a value not to exceed $58,533 to satisfy the

23    money judgment in whole or in part; and

24    //

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 1           6.       The United States may take any and all actions available to it to collect and enforce

 2    the judgment.

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      DATED: July 26, 2007
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 6                                                  M. James Lorenz
                                                    United States District Court Judge
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